                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                 Case No. 18-08121-SHG
BART MITCHELL FOSHEE                                                                   Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0970-4          User: admin                  Page 1 of 2                   Date Rcvd: Jul 19, 2018
                              Form ID: 309A                Total Noticed: 45


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 21, 2018.
db             +BART MITCHELL FOSHEE,    1521 WEST PRINCESS TREE AVENUE,     QUEEN CREEK, AZ 85140-7731
15125476       +9 Macs LLC,    48 North MacDonald,    Mesa AZ 85201-7329
15125480       +Arizona Department of Revenue,     c/o Tax, Bankruptcy, and Collections,
                 2005 N. Central Ave., Ste. 100,     Phoenix AZ 85004-1546
15125481       +Ashlee Foshee,    41328 North Palm Springs Trail,     San Tan Valley AZ 85140-4235
15125482       +Banner Ironwood Medical Center,     P.O. Box 18,   Phoenix AZ 85001-0018
15125483        Barclays Bank,    PO Box 60517,    City of Industry CA 91716-0517
15125484        Bureau of Medical Economics,    Attn: Bankruptcy,     PO Box 20247,   Phoenix AZ 85036-0247
15125485       +CENLAR,   PO Box 77423,    Trenton NJ 08628-7423
15125488        Commercial Diesel Services LLC,     3868 South Lindsay Road,    Gilbert AZ 85297-1509
15125491       +Delivery Financial Services, LLC,     3710 W. Greenway Rd.,    Phoenix AZ 85053-3745
15125492        Emergency Professional Services, PC,     PO Box 64568,    Phoenix AZ 85082-4568
15125493       +Equifax Credit Information Services, Inc,     PO Box 740241,    Atlanta GA 30374-0241
15125494       +Experian Information Solutions, Inc.,     PO Box 4500,    Allen TX 75013-1311
15125495        Gilbert Hospital,    PO Box 269083,    Oklahoma City OK 73126-9083
15125496       +Highland Precinct Justice Court,     RE Case #: CC2015-122016,    55 E. Civic Center Dr., Suite 55,
                 Gilbert AZ 85296-3468
15125498       +Ironwood Crossing,    c/o Maxwell & Morgan, PC,    4854 E. Baseline Rd., Ste. 104,
                 Mesa AZ 85206-4636
15125499       +JN Portfolio Debt Equities LLC,     Attn: Bankruptcy,    5757 Phantom Drive, Ste. 225,
                 Hazelwood MO 63042-2429
15125501        NextCare Urgent Care,    PO Box 843833,    Los Angeles CA 90084-3833
15125502       +Off Site Transportation & Disposal LLC,     1521 West Princess Tree Avenue,
                 San Tan Valley AZ 85140-7731
15125503       +Pinal County Superior Court,    RE Case#: CV2017-02161,     PO Box 2730,   Florence AZ 85132-3051
15125505       +Progressive Insurance,    6300 Wilson Mills Rd.,    Cleveland OH 44143-2182
15125506       +Silla Trucking, Inc.,    1144 East Ranch Road,    San Tan Valley AZ 85140-8362
15125508       +South Shore Bank,    Attn: Bankruptcy,    Po Box 151,    Weymouth MA 02188-0904
15125509       +Superior Court - Clerk of the Court,     RE Case#: CV2017-094923,    201 W. Jefferson,
                 Phoenix AZ 85003-2243
15125510        TransUnion Consumer Solutions,     PO Box 2000,   Chester PA 19016-2000
15125511       +US Deptartment of Education/Great Lakes,     Attn: Bankruptcy,    Po Box 7860,
                 Madison WI 53707-7860
15125515       +Wf/american Furnitur,    Po Box 14517,    Des Moines IA 50306-3517
15125516       +Wf/nationwide,    Po Box 14517,    Des Moines IA 50306-3517

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: ecf@neeleylaw.com Jul 20 2018 01:48:11        KENNETH L NEELEY,
                 NEELEY LAW FIRM, PLC,    2250 E. GERMANN RD., SUITE 11,     CHANDLER, AZ 85286
tr             +EDI: BGEMILLS.COM Jul 20 2018 04:53:00       GAYLE ESKAY MILLS,    P.O. BOX 36317,
                 TUCSON, AZ 85740-6317
smg             EDI: AZDEPREV.COM Jul 20 2018 04:53:00       AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
15125477       +EDI: AFNIRECOVERY.COM Jul 20 2018 04:53:00       AFNI, Inc.,    PO Box 3097,
                 Bloomington IL 61702-3097
15125478       +EDI: GMACFS.COM Jul 20 2018 04:53:00       Ally Financial,    Attn: Bankruptcy Dept,
                 Po Box 380901,    Bloomington MN 55438-0901
15125479       +EDI: AMEREXPR.COM Jul 20 2018 04:53:00       Amex,   Correspondence/Bankruptcy,    Po Box 981540,
                 El Paso TX 79998-1540
15125486       +E-mail/Text: correspondence@revsolve.com Jul 20 2018 01:51:22        Collection Service Bureau,
                 PO Box 310,    Scottsdale AZ 85252-0310
15125487        EDI: WFNNB.COM Jul 20 2018 04:53:00       Comenity Capital Bank,    Attn: Bankruptcy Department,
                 PO Box 182125,    Columbus OH 43218-2125
15125489       +E-mail/Text: CCICollectionsGlobalForms@cox.com Jul 20 2018 01:50:45        Cox Communications,
                 PO Box 78071,    Phoenix AZ 85062-8071
15125490       +EDI: CCS.COM Jul 20 2018 04:53:00       Credit Collection Services,    725 Canton Street,
                 Norwood MA 02062-2679
15125497       +EDI: IRS.COM Jul 20 2018 04:53:00       Internal Revenue Service,
                 Centralized Insolvency Operations,     PO Box 7346,   Philadelphia PA 19101-7346
15125500       +E-mail/Text: suewoodsnic@gmail.com Jul 20 2018 01:51:00        Nemo’s Investigations & Collections,
                 PO Box 30517,    Phoenix AZ 85046-0517
15125504        EDI: PRA.COM Jul 20 2018 04:53:00       Portfolio Recovery Associates, LLC,    PO Box 41067,
                 Norfolk VA 23541
15125507       +E-mail/Text: sanfrancisco.bnc@ssa.gov Jul 20 2018 01:50:30        Social Security Administration,
                 1100 West High Rise,    6401 Security Blvd.,    Baltimore MD 21235-0001
15125512       +E-mail/Text: bk.notices@vantagewest.org Jul 20 2018 01:49:35        Vantage West Credit Union,
                 PO Box 15115,    Tucson AZ 85708-0115
15125513       +E-mail/Text: bk.notices@vantagewest.org Jul 20 2018 01:49:35        Vantage West Cu,
                 Attn: Bnakruptcy,    Po Box 15115,    Tucson AZ 85708-0115
15125514       +EDI: VERIZONCOMB.COM Jul 20 2018 04:53:00       Verizon,    Attn: Wireless Bankrupty Admin,
                 500 Technology Dr Ste 500,    Weldon Springs MO 63304-2225
                                                                                               TOTAL: 17


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                                      Form ID: 309A                      Total Noticed: 45


              ***** BYPASSED RECIPIENTS (continued) *****

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 21, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 19, 2018 at the address(es) listed below:
              GAYLE ESKAY MILLS   gaylemills@earthlink.net, AZ28@ecfcbis.com,gmtassistant@gmail.com
              KENNETH L NEELEY   on behalf of Debtor BART MITCHELL FOSHEE ecf@neeleylaw.com, ign@neeleylaw.com,
               r50688@notify.bestcase.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3




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Information to identify the case:
Debtor 1              BART MITCHELL FOSHEE                                              Social Security number or ITIN         xxx−xx−0111
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Arizona
                                                                                        Date case filed for chapter 7 7/11/18
Case number:          4:18−bk−08121−SHG


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       BART MITCHELL FOSHEE

2.      All other names used in the
        last 8 years

3.     Address                               1521 WEST PRINCESS TREE AVENUE
                                             QUEEN CREEK, AZ 85140

4.     Debtor's attorney                     KENNETH L NEELEY                                       Contact phone 480−802−4647
                                             NEELEY LAW FIRM, PLC                                   Email: ecf@neeleylaw.com
       Name and address                      2250 E. GERMANN RD., SUITE 11
                                             CHANDLER, AZ 85286

5.     Bankruptcy trustee                    GAYLE ESKAY MILLS                                      Contact phone 520−792−1115
                                             P.O. BOX 36317                                         Email: gaylemills@earthlink.net
       Name and address                      TUCSON, AZ 85740
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor BART MITCHELL FOSHEE                                                                                       Case number 4:18−bk−08121−SHG


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                    Office Hours: 9:00 am − 4:00 pm
                                                38 S. Scott Avenue                                                Monday−Friday
    Documents in this case may be filed at this Tucson, AZ 85701−1704
    address. You may inspect all records filed
    in this case at this office or online at                                                                      Contact Phone: (520) 202−7500
    www.pacer.gov.                                                                                                Date: 7/19/18

7. Meeting of creditors                          September 7, 2018 at 09:30 AM                                    Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a                   Pinal County Superior Court, 971
    questioned under oath. In a joint case,      later date. If so, the date will be on the court                 Jason Lopez Cir, Bldg A, 3rd Flr
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                          Hrg Room, Florence, AZ 85132


8. Presumption of abuse                          Insufficient information has been filed to date to permit the clerk to make any
                                                 determination concerning the presumption of abuse. If more complete information,
    If the presumption of abuse arises, you      when filed, shows that the presumption has arisen, creditors will be notified.
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 11/6/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
    you receive a notice to do so.               Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                                 3002(c)(7)(A): 70 Days from Case Filed Date.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




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